 

AO 106 (Rev. 04/] 0) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

_ln the Matter of the Search of:

330 West Keefe Avenue, Apaitinent #6, Milwaul<ee,
Wisconsin

 

lain-119 (DEJ)

VVVVVV

APPLICATION FOR A SEARCH WARRANT

l, a federal law enforcement officer or an attorney for the governinent, request a search warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(0) is:
§ evidence of a crime;
l:l contraband, fruits of crime, or other items illegally possessed;
l:l property designed for use, intended for use, or used in committing a criine;
l:| a person to be arrested or a person who is unlawfully restrained

The search is related to Violations of: Title 21, United States Code_, sections 841 and 846

The application is based on these facts: See attached affidavit

[l Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of Which is set forth on the attached sheet.

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Special Agent George Mason, FBI
P)'inl.‘ea' Name and Tiz‘le

 

Swoin to before me and signed in my presence:

Date: A\A.ga q\/, Z'Dl$§ 1

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City and Sfat€: MMASUM§£H}-eole-DEJ Filed 0

           

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ATTACHMENT A
LOCATION TO BE SEARCHED:

330 West Keefe Avenue Apartment #6, Milwaukee, Wisconsin

l\/lulti~unit apartment complex having a tan brick exterior With grey trim around the
Windows and a black tar roof. The numbers ”330” are displayed in a horizontal fashion
to the West of the south facing front entry`door. Apartment #6 is located on second floor
southwest corner there is no number displayed on the White Wood door. Apartment #6.
is located directly across the hallway across from Apartment #5.

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ATTACHMENT B

ITEMS TO BE SEIZED:

10.

11.

Any illegal drugs or controlled substances, paraphernalia associated with
controlled substances including scales and other weighing devices as well as
packaging materials and containers used to package controlled substances,'

Proceeds of drug trafficking activities, including United States currency;

Firearms, ammunition, magazines, gun boxes, firearm purchase records or

4 receipts, and other paraphernalia associated with firearms;

Sentry Safe;

All bank records, checks, credit card bills, account information, and other financial
records; financial records, documents statements, or other evidence of control of .
bank or other financial accounts and investment funds;

Lists of drug customers and related identifying information,'
Personal address books, telephone bills, photographs, letters, personal notes,

documents and other items or lists reflecting names, addresses, telephone
numbers, addresses and communications regarding illegal activities among and

. between members and associates involved in drug trafficking activities,

Documents and deeds reflecting the purchase or lease of items obtained with the
proceeds from drug trafficking activities,'

Records of off-site locations to store proceeds and other records, including safes,
vaults, or lock boxes, safe deposit box keys, records and receipts and rental
agreements for storage facilities ;

Records of mail and communications services, cellular telephones and all
electronic storage areas on the device including stored telephone numbers,
recently called numbers list, text messages, digital audio and or video recordings,
pictures, settings, and any other user defined settings and / or data.

lndicia of occupancy, residency or ownership'of the premises, including utility
bills, telephone bills, loan payment receipts, addressed envelopes, escrow

k documents and keys.

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As used above, the terms ”records” and l'information” include all of the foregoing
items of evidence in Whatever form and by whatever means they may have been created
or stored, including any form of computer or electronic storage (such as hard disks or
other media that can store data); any handmade form (such as writing, drawing,
painting),' any mechanical form (such as printing or typing); and any photographic form
. (such as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
photocopies).

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

l, George l\/lason, a Special Agent with the Federal Bureau of lnvestigation, hereby
depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. l make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search_warrant authorizing the examination of
property, a residential dwelling described in Attachment A, and the extraction from that
property of evidence described in Attachment B.

2. l am a Special Agent (SA) with the United States Department of ]ustice,
Federal Bureau of lnvestigation (FBI). l am currently assigned to the Southeastern
Wisconsin Regional Gang Task Force.l have received training in the investigation of
drug trafficking l have worked with informants in the investigation of drug trafficking
l have participated in search warrants, investigations, and arrests in which controlled
substances and drug paraphernalia were seized I am familiar with the street names of
various drugs in the l\/lilwaukee area including marijuana, heroin, and cocaine. l
am familiar With methods that are commonly used by drug dealers to package and
prepare controlled substances for sale. l have drafted warrants as it relates to criminal
investigations l know through training and experience the importance of Global
Positioning System (GPS) warrants to gather intelligence of the suspect operating the
target cellphone. Furthermore, GPS warrants reduce the risk of conducting personal
surveillance, Which has a greater risk of being detected than electronic surveillance

'Through my training and experience, l know that drug dealers are not on a regular

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. schedule and can conduct drug deals at any time of the day. GPS tracking allows
investigators to constantly monitor a cellphone's location even when an investigator is
not personally conducting surveillance

3. l am an investigative or law enforcement officer of the United States within
the meaning of Title 18, United States Code, Section 2510(7) in that l am empowered by
law to conduct investigations of and to make arrests for federal offenses

4. Prior to serving as a Special Agent, l was a sworn Kansas Law Enforcement
Officer in the City of Prairie Village for over five years l participated in the investigation
of narcotics~related offenses, resulting in the arrest and prosecution of numerous
individuals and the seizure of illegal drugs, weapons stolen property, United States
currency, and other evidence of criminal activity. As an investigator, l have interviewed

' many individuals involved in criminal activity and have obtained information from them
regarding acquisition, sale, and distribution of controlled substances `Through my
training and experience, l am familiar with the actions habits traits, methods and some
terminology utilized by the traffickers and abusers of controlled substances l have
participated in numerous aspects of drug investigations including physical surveillance,
execution of search warrants undercover transactions analysis of phone and financial
records, and arrests of drug offenders l have spoken on numerous occasions with other
experienced narcotics investigators concerning the methods and practices of drug
traffickers and money launderers. Furthermore, l have attended training courses
regarding the investigation of narcotics trafficking Through these investigations my

training and experience, and conversations with other law enforcement personnel, l have

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become familiar with the methods used by drug traffickers to manufacture, smuggle,
safeguard, and distribute narcotics and to collect and launder trafficking-derived
proceeds

5. l have utilized informants to investigate drug trafficking Through
informant interviews and extensive debriefings' of individuals involved in drug
trafficking, l have learned about the manner in which individuals distribute controlled
substances in the United States.

6. l l am familiar with the appearance and street names of various drugs,
including marijuana, heroin, cocaine, cocaine base (crack cocaine), ecstasy, and
methamphetamine. l am familiar with the methods used by drug dealers to package and
prepare controlled substances for sale.

7 . l am familiar with the language utilized over the telephone to discuss drug
trafficking, and know that the language is often limited, guarded, and coded.

8. l know that drug traffickers often use various communication devices to
conduct drug trafficking operations and that drug traffickers often communicate on
cellphones using text messages and direct connect cellphone capabilities l know that
multiple calls short in duration are indicative of drug trafficking activities

9. l know that drug traffickers commonly have firearms ammunition, and
records or receipts pertaining to such in their possession and at their residences and other
locations where they exercise dominion and control

10. l know that drug traffickers often list their telephones in nominee names in

order to distance themselves from telephones that are used to facilitate drug trafficking,'

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and that drug traffickers frequently change phone numbers in an effort to thwart law
enforcement

ll. l know that drug traffickers often use drug proceeds to purchase assets such
as vehicles property, and jewelry. l also know that drug traffickers often use nominees
to purchase and / or title these assets in order to avoid scrutiny from law enforcement

12. The facts in this affidavit come from my personal observations my training
and experience, and information obtained from other agents law enforcement and
witnesses This affidavit is intended to show merely that there is sufficient probable cause
for the requested Warrant and does not set forth all of my knowledge about this matter.

13. The facts in this affidavit come from my personal observations my training
and experience, and information obtained from other agents and witnesses This affidavit
is intended to show merely that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter. The facts in this
affidavit come from my personal observations my training and experience, and
information obtained from other agents and witnesses This affidavit is intended to show
merely`that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

v 14. As detailed below, l believe that there is probable cause that located within

the following property in the City of l\/lilwaukee, further described in Attachment A, are
items that constitute evidence of drug trafficking, including violations of Title 21, United

States Code, sections 841 and 846.

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IDENTIFICATION OF PREMISES AND VEHICLES TO BE SEARCHED
15. That affiant is requesting permission to execute a search warrant at the
following property:
A. 330 West Keefe Avenue, Apartment #6, Milwaukee,

Wisconsin
l\/lulti-unit apartment complex having a tan brick exterior

With grey trim around the windows and a black tar roof.
The numbers ”330” are displayed in a horizontal fashion
to the west of the south facing front entry door.
Apartment #6 is located on second floor southwest corner
there is no number displayed on the white wood door.
Apartment #6 is located directly across the hallway across
from Apartment #5.

16. The applied-for warrant would authorize the search and recovery of

evidence particularly described in Attachment B.
PROBABLE CAUSE

17. The Federal Bureau of lnvestigations (FBI) Gang Task Force (GTF), which
includes Special Agents of the DEA, FBI, and federal Task Force Officers are conducting
an investigation into the criminal activities of ]ames T. Harris (Age: 52) and his Drug
Trafficking Organization (DTG) as it relates to the trafficking of heroin into l\/lilwaukee,
Wisconsin between ]anuary 2016 to the present

18. ln 2017, members of the FBI GTF, developed a confidential source
(hereinafter referred to a CSl). CS1 was a heroin dealer for james Coleman, who is a
member of the Harris DTO. CSl stated that between january 2017 and April 2017, s / he

Worked as a heroin dealer for ]ames Coleman out of 2655 N. 15th Street, l\/lilwaukee, Wl.

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ln 2017, CS1 began working for Coleman after james Harris requested that CS1 become
one of Harris’ heroin dealers

19. For several reasons case agents believe that CSl is reliable and credible.
First, CS1 has been providing continuous information since l\/larch of 2017. Second, the
information CS1 has provided is substantially against CS1’s penal interest Third, the
information provided by CSl is consistent with evidence obtained elsewhere in this
investigation where CSl was not utilized, and substantial portions of CS1’s information
have been corroborated through independent investigation, including surveillance and
information from other sources Finally, CSl has had an adequate opportunity to observe
directly the events discussed and / or has heard conversations directly from the
individuals discussed herein. CSl is cooperating in exchange for credit towards CSl
pending criminal case. CS1 has provided law enforcement with timely and accurate
information corroborated by law enforcement through consensually recorded
conversations controlled buys and other witness and law enforcement reporting

20. ln early 2017 and while inside of 2773A N. 41st Street, l\/lilwaukee, l/Vl , CS1
saw Harris packaging a half~kilo of heroin for sale, and s/ he saw Harris use Dormin asa
` cutting agent prior to its packaging

21. CSl identified james Coleman, Kurt Parks Roderick Ramsey, and Todd
l\/chown as heroin traffickers who purchased their heroin from Harris between january
2017 and April 2017. CSl also personally observed Roderick Ramsey, Harris’ nephew,

deliver heroin to Coleman for sale.

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22.' CSl further stated that Harris once called CSl and told him / her that Harris
was in Chicago picking up heroin from his source of supply.

23. ln 2017, members of the FBI GTF, developed a confidential source
(hereinafterreferred to as CS4). CS4’s information dates from january 2017 to the present

24. For several reasons case agents believe that CS4 is reliable and credible.
First, CS4 has been providing continuous information since approximately june of 2017.
Second, the information CS4 has provided is substantially against CS4's penal interest
Third, the information provided by CS4 is consistent with evidence obtained elsewhere
in this investigation where CS4 was not utilized, and substantial portions of CS4's
information have been corroborated through independent investigation, including
surveillance and information from other sources Finally, CS4 has had an adequate
opportunity to observe directly the events discussed and/ or has heard conversations
directly from the individuals discussed herein. CS4 is cooperating in exchange for
monetary compensation C54 has provided law enforcement with timely and accurate
information corroborated by law enforcement through consensually recorded
conversations controlled buys and other witness and law enforcement reporting

25. C54 is an associate of the Harris DTO and is intimately familiar with aspects '
of the Harris DTO. CS4 stated that Harris is large heroin dealer in l\/Iilwaukee, and his
main partner is Nequann Terry, Harris’ son. CS4 has observed Terry packaging and
distributing heroin several times in l\/Iilwaukee since january 2018 in Terry's vehicle and

at 330 West Keefe, Apartment #5, l\/lilwaukee and at 2773A l\lorth 4lst Street, l\/lilwaukee.

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CS4 has observed Harris front (allowing narcotics to be sold on credit) heroin to Terry
' approximately 40 times since january 2017.

26. CS4 observed Harris on multiple occasions distribute heroin to Nequann
Terry, james Coleman, Kurt Parks and l\/larques Williams CS4 stated that s / he
personally observed Harris front heroin to: (1) Nequann Terry at 330 West Keefe Avenue
Apartment 5, l\/lilwaukee, Wl; (2) james Coleman at 2665 North 15th Street, l\/lilwaukeej
Wl,' (3) l<urt Parks at 2773A North 41st Street, l\/lilwaukee, Wl; and (4_) l\/larques Williams
at 3071A North 19th 'Street, l\/lilwaukee, Wl.

27. n CSél further identified Kurt Parks’ heroin workers as Don Tillman, Antoine
jeff, and Casey johnson. C84 saw Antoine jeff purchase a half~ounce of heroin from
Harris approximately two to three times from june 2017 to August 2017 at 3261 North
30th Street, l\/lilwaukee, V\/l. CS4 identified l\/larques Williams as a heroin trafficker Who
receives his heroin supply from Harris and Terry at 3071A North 19th Street, l\/lilwaukee,
Wl.

28. CS4 also believes that Harris receives his heroin from a relative in Chicago
because he heard Harris and Kurt Parks discussing that arrangement

29. ln 2018, members of the FBI GTF developed a confidential source
(hereinafter referred to as CS6).

30. For several reasons case agents believe that CS6 is reliable and credible.
First, CS6 has been providing continuous information since April of 2018. Second, the
information provided by CS6 is consistent with evidence obtained elsewhere in this

investigation where CS6 was not utilized, and substantial portions of CS6's information

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have been corroborated through independent investigation, including surveillance and
information from other sources Finally, CS6 has had an adequate opportunity to observe
directly the events discussed and / or has heard conversations directly from the
individuals discussed herein CS6 is cooperating in exchange for credit towards CS6
pending criminal case.

'31. CS6 stated s / he had been purchasing heroin three times a week from a
subject s / he know as ”Rah Rah” since june / july of 2017 at 3044 North Richards Street,
l\/lilwaukee, Wl, and at an apartment of the lower northeast corner of the an apartment
complex located at 5800 North 91st Street, l\/Iilwaukee, WI. Case agents know ”Rah Rah"
to be Roderick Ramsey, who is james Harris `nephew. Case agents showed CS6 a
l\/lilwaukee Police Department booking photo of Roderick Ramsey, which CSé positively
identified as the subject CS6 knows as ”Rah Rah.”

32. CS6 stated that in l\/lay 2018, s / he observed james Harris at Roderick
Ramsey’s residence 3044 North Richards Street, l\/lilwaukee, Wl, when CS6 was
purchasing heroin from Ramsey. ln l\/lay 2018, CSé positively identified a photograph of
james I-larris, but did not know what Harris’ name was CS6 stated that while CS6 was
purchasing heroin from Ramsey at 3044 North Richards Street, l\/lilwaukee, CS6 observed
james Harris walk from a back room during the drug deal with Ramsey. ln late july 2018,
CS6 also stated that Ramsey was still actively selling heroin out of 3044 North Richards
Street, l\/lilwaukee and 5800 North 91st Street, l\/lilwaukee.

33. ln 2017, members of the FBl GTF, developed a confidential source

(hereinafter referred to as CS7).

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34. For several reasons case agents believe that CS7 is reliable and credible.
First, CS7 has been providing continuous information since April of 2018. Second, the
information provided by CS7 is consistent with evidence`obtained elsewhere in this
investigation where CS7 was not utilized, and substantial portions of CS7’s information
have been corroborated through independent investigation, including surveillance and
information from other sources Third, CS7 has made statements to case agents that are
against his / her penal interests in that CS7 has admitted his / her involvement in the
Harris DTO’s activities in the past Finally, CS7 has had an adequate opportunity to
observe directly the events discussed and / or has heard conversations directly from the
individuals discussed herein CS7 is cooperating in order to be a good citizen and
potential future monetary compensation

35. CS7 stated that Harris' source of supply is Stanley George and that the
purchases of heroin occur at Harris’ mother’s residence in Chicago. CS7 saw Harris
purchase heroin from George over 10 times between February 2016 to December 2018.
Each time Harris purchased heroin, it was neverless than a kilo. The FBI was able to
verify the identity of Stanley George and verified that Harris' mother does reside in
Chicago. CS7 identified Adline Harris, Harris' wife, as a person Who often transports
heroin from Chicago to l\/lilwaukee for the Harris DT().

36. ln 2018, members of the FBI GTF, developed a confidential source
(hereinafter referred to as CSS).

37. For several reasons case agents believe that CSS is reliable and credible.

First, the information provided by CSS is consistent with evidence obtained elsewhere in

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this investigation where CSS Was not utilized, and substantial portions of CSS's
information have been corroborated through independent investigation, including
surveillance and information from other sources Second, CSS has made statements to
case agents that are against his / her penal interests in that CSS has admitted his/ her
involvement in the Harris DTO’s activities in the past Finally, CSS has had an adequate
opportunity to observe directly the events discussed and/ or has heard conversations
directly from the individuals discussed herein CSS is cooperating in exchange for
consideration in a pending criminal case.

38. CSS worked with the Harris DTC from spring 2016 to spring 2017. CSS saw
Harris receive heroin from a Chicago source. CSS saw Harris package heroin almost every
day, and CSS saw Harris cut the heroin with Dormini CSS assisted the packaging of
Harris’ heroin, and s / he said that Harris would receive approximately 2-3 kilos of heroin
every month. CSS saw james Coleman and l<urt Parks purchase heroin almost every day
from Harris - at times Harris fronted the heroin to james Coleman and Kurt Parks.

39. On january 31, 2018, the FBl GTF conducted a garbage pick at one of Harris'
former drug locations (2773A N. 41st Street, l\/lilwaukee) and located Dormin (heroin
cutting agent), corner cuts that tested positive for the presence of heroin, and identifiers
for Harris and Nequann Terry. This further corroborates the confidential source
information

40. The investigation into the Harris DTO included an investigative technique
known as a ”controlled buy." Based on my training and experience, l know a ”controlled

buy” is a law enforcement operation in which an informant purchases drugs from a

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target The operation is conducted using surveillance, usually audio and video taping
equipment and pre-recorded purchase money. When an informant is used, s/ he is
searched for contraband, weapons and money before the operation The informant is also
wired with a concealed body recorder and / or a monitoring device. When the transaction
is completed, the informant meets cases agents at a pre-determined meet location and
gives the purchased drugs and the recording/ monitoring equipment to the case agents
The informant is again searched for contraband, weapons and money and then
interviewed by the case agents about the drug transaction A sample of the suspected
drugs is then field tested by the case agents for the presence of controlled substances and
then placed in inventory pursuant to normal inventory procedures All of the calls to the
` target by the informants are consensually recorded calls under the direction and control
of case agents and made in the presence of case agents Additionally, case agents observe
the informants dial the target/s number on each occasion and the contact is verified
through telephone records Unless otherwise noted, the controlled buys and telephone
contacts summarized below were conducted pursuant to the above procedures
41. The below controlled buys are believed to be connected to members or

associates of the Harris DTO:

¢ On April 22, 2017, the FBI GTF conducted a controlled buy of heroin

from james Coleman of 2.52 grams of heroin at 4200 W. Stark Street,

l\/lilwaukee.

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¢ On April 24, 2017, the FBI GTF conducted a controlled buy from
james Coleman of 4.3 grams of heroin at 1200 W. Garfield Avenue,
l\/lilwaukee.

0 On l\/lay 12, 2017, the FBl GTF conducted a controlled buy from
james Coleman of 9.11 grams of heroin at 2655 N. 15th Street,
Milwaukee. During the controlled buy, james Coleman The Cl stated
that Skinner was selling heroin to other buyers during the controlled
buy (this was not captured on the recording).

¢ On l\/lay 24, 2017, the FBI GTF conducted a controlled buy from
james Harris and Roderick Ramsey of 7.8 grams of heroin at 2773 N.
4lst Street, l\/lilwaukee. CSl called Harris who directed CS1 to call
Roderick Ramsey to fulfill the request CS1 called Ramsey who sold
the heroin to CSl. y

¢ On july 21, 2017, the FBI Task Force conducted a controlled buy
from Don Tillman of 2.2 grams of heroin at 2605 N. 26th Street,
Milwaukee. During the controlled buy, CS4 called Parks who told him
to complete the purchase with his worker, "Don§"

0 On july 25, 2017 , FBI GTF conducted a controlled buy from Antoine
jeff of 3.1 grams of heroin at 3261 North 30th Street, l\/lilwaukee.

» Gn August 2, 2017, FBI GTF conducted a controlled buy from
Antoine jeff of 2.5 grams of heroin at 3261 North 30th Street, 1

l\/lilwaukee. During the controlled buy, C54 contacted Tillman who

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told the CS that he did not have heroin because Parks was arrested so
he should call jeff.

v On August 7, 2017, the FBI Task Force conducted a controlled buy
from Don Tillman of 3.7 grams of heroin at 2869 l\l. 26th Street,
l\/lilwaukee. During the controlled buy, Tillman told CS4 that he Was
waiting for Parks to drop off some heroin for him to sell. l

¢ On August 27, 2017, the FBI Task Force conducted a controlled buy
from Don Tillman of 3.07 grams of heroin at 2869 N. 26th Street,
l\/lilwaukee.

¢ On October 12, 2017, the FBl Task Force conducted a controlled buy
from Don Tillman of 2.37 grams of heroin at 2869 N. 26th Street,
l\/lilwaukee.

0 On April 10, 2018, the FBI GTF conducted a controlled buy from
Todd l\/chown of 2.39 grams of heroin at 3110 North 35th Street, l
l\/lilwaukee.

0 On April 12, 2018, 1031 GTF conducted a controlled buy from Todd
l\/chown of 4.5 grams of heroin at 3110 North 35th Street, l\/lilwaukee.
¢ On April17, 2018, FBI GTF conducted a controlled buy from Casey
johnson of 2.83 grams of heroin at 3069 North 29th Street, l\/lilwaukee.
During the controlled buy, C54 spoke to Terry who said call his guy

// KC./I

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¢ On April 20, 2018, FBI GTF conducted a controlled buy from Casey
johnson of 4.87 grams of heroin at 3069 North 29th Street, l\/lilwaukee.
¢ C)n l\/lay 15, 2018, FBI GTF conducted a controlled buy from Antoine
jeff of 1.55 grams of heroin at 3261 North 30th Street, l\/lilwaukee.
¢ On l\/lay 17, 2018, FBI GTF conducted a controlled buy from Todd
t l\/chown of 4.5 grams of heroin at 3500 West Fond Du Lac Avenue,
l\/.[ilwaukee.
0 On l\/lay 21, 2018, FBI GTF conducted a controlled buy of heroin
from Roderick Ramsey of 1.02 grams of heroin at 2940 North 21st
Street, Milwaukee.
0 C)n l\/lay 24, 2018, FBI GTF conducted a controlled buy of heroin
from Nequann Terry of 2.06 grams of heroin at 6016 North 61st Street,
l\/lilwaukee. During the controlled buy, C54 spoke with Harris and
Terry outside of 6016 North 61st Street, and at that time, Harris
directed Terry to ”Take care of that business." Shortly after, CS4 and
Terry entered the residence, and C34 conducted the purchase of heroin
from Terry. l
o On l\/Iay 29, 2018, FBI GTF conducted a controlled buy from
Roderick Ramsey of .55 grams of heroin at 5800 North 9lst Street,

l\/lilwaukee.

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0 On l\/lay 30, 2018, FBI GTF conducted a controlled buy from
Nequann Terry of 1.97 grams of heroin at 1845 West Hopkins Street,
l\/lilwaukee.

¢ On june 4, 2018, the FBI GTF conducted a controlled buy from james
Coleman of .16 grams of heroin from 2655 l\l. 15th Street, l\/Iilwaukee.
0 C)n july 10, 2018, the FBI GTF conducted a controlled buy from
”Luther” at the direction of l\/larques Williams of 2.05 grams of heroin
in the area of 3071 N. 19th Street, Milwaukee.

0 On july 12, 2018, the FBI GTF conducted a controlled buy from
”Luther” at the direction of l\/larques Williams of 2.98 grams of heroin
in the area 3071 N. 19th Street, l\/lilwaukee.

0 On july 25, 2018, the FBI GTF conducted a controlled buy from
Antoine jeff of 1.8 grams of heroin from 3261 North 30th Street,
l\/lilwaukee.

0 On july 25, 2018,| the FBI GTF conducted a controlled buy from
”Herron" at the direction of rl`odd McGown of 2.93 grams of heroin in
the area 3110 North 35th Street, l\/lilwaukee. l

0 On july 25, 2018, the FBI GTF conducted a controlled buy from
”Luther” of 2.71 grams of heroin in the area of 3071 N 19th Street,

l\/lilwaukee.

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0 On july 30, 2018, the FBl GTF conducted a controlled buy from
Roderick Ramsey of 0.58 grams of heroin in the area of 3044 North
Richards Street.

330 West Keefe Avenue, Apartments #5; Milwaukee, Wisconsin

42. Agents of the FBI GTF believe that 330 West Keefe Avenue, Apartment #5,
Milwaukee, Wl, is occupied by Nequann Terry. On july 11, 2018, Nequann Terry updated
his Wisconsin Department of Transportation address to 330 West Keefe Avenue
Apartment #5, Milwaukee, Wl. james Harris and Nequann Terry arel the listed as the
utilities subscribers through WE Energies for 330 West Keefe Avenue, Apartrnent #5,
Milwaukee, Wl.

43. In the mid~june 2018, CS4 was inside of 330 West Keefe Avenue Apartment
#5 when s / he saw james Harris bring an unidentified amount of heroin into the
apartment complex. CS4 stated that s/ he observed Nequann Terry with a firearm in
Apartment #5 within the last 60 days CS4 identified Terry as a current heroin dealer for
the Harris DTO Who resides at and furthers heroin trafficking at 330 West Keefe Avenue,
Apartment #5, Milwaukee, Wl.

44. CS4 stated that the entry door to Apartment #5 is barricaded. The
barricades consist of a horizontal 2x4 across the door and a 2x4 inserted into a floor
bracket Which provides additional fortification. l know that from training and experience
that drug dealers use fortification in order to secure their residences from law
enforcement and others individuals attempting to gain access to their residence

45. On February 17, 2018, Milwaukee police officers were dispatched to a

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property damage complaint at 330 West l<eefe, Milwaukee, Wl. The caller stated that her
landlord was ”j. Harris” with a cellphone number of 414~595~7809. Case agent know this
to be one of james Harris's cellphone numbers

46. Based off electronic and physical surveillance, case agents have placed

james Harris at 330 West Keefe Avenue over 100 times most recently on july 24, 2018. ln
addition, case agents case agents have placed Nequann Terry at 330 West Keefe through
physical surveillance approximately 10 times most recently on july 24, 2018.

47. Case agents also observed james Harris 2013 Cadillac XTS, with Wisconsin
license plate 659~ZHL parked at 330 West Keefe on over 25 occasions most recently on
july 25, 2018. Law enforcement verified that this vehicle is registered through l/Vl DOT to
james Harris Trust and used by Harris. Case agents have observed Harris driving the
Cadillac XTS over 20 times

48. ln my training and experience as a federal agent, l know that it is a common
for a drug trafficker's residence to contain evidence of drug trafficking such as
contraband, proceeds and records l

330 West Keefe Avenue, Apartment #6, Milwaukee, Wisconsin

 

49. 330 W. Keefe Avenue, Apartment #6, Milwaukee, is occupied by Felicia
Powell (DOB 09/19/1967). Felicia Powell is the listed utilities subscriber through WE
Energies for 330 West Keefe Apartment #6.

50. CS4 stated that in the middle of june of 2018 s/ he witnessed Nequann Terry
with a firearm in Apartment #5. CS4 stated that s / he was with Terry in Apartment #5

when CS4 Witnessed Terry go into Apartment #6. CS4 stated s / he heard Powell tell Terry

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that ”the heroin is in the drawer.f’ CS4 witnessed Terry exit Apartment #6 with an
unidentified amount of suspected heroin and reenter Apartment #5.

51. ln early june of 2018 CS4 stated that s/ he had witnessed Felicia Powell
bagging up heroin in Terry's apartment Apartment #5.

52. On August 8, 2018, FBl GTF conducted la knock and talk at 330 W. Keefe
Avenue, Apartment #6, Milwaukee, When the agents entered the residences they located,
in plain sight multiple boxes of ammunition of .45 caliber and 9mm rounds‘ a locked
Sentry Safe,' and marijuana packed into a cigar. The agents froze the scene to obtain this
search warrant Based on the evidence in plain sight as well as the historical information
from CS4, there is probable cause to search the apartment for narcotics and firearms
related evidence.

CONCLUSION

53. Based on the facts contained Within this affidavit case agents believe that
there is probable cause that james Harris, Adline Harris james Coleman, Kurt Parks,
Nequann Terry, Roderick Ramsey, Todd l\/chown, Casey johnson, Don Tillman, Antoine '
jeff, and l\/larques Williams are heroin traffickers Case agents further believe that there
is probable cause to search the aforementioned location for evidence pertaining to the
fruits instrumentalities and proceeds of drug trafficking all of which are detailed more
specifically in Attachment B, items to be seized.

TECHNICAL TERMS
54. Based on my training and experience, l use the following technical terms to

convey the following meanings

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55. Wireless telephone: A wireless telephone (or mobile telephone, or
cellphone) is a handheld Wireless device used for voice and data communication through
radio signals These telephones send signals through networks of transmitter / receivers
enabling communication With other wireless telephones or traditional ”land line"
telephones A wireless telephone usually contains a ”call log" which records the
telephone number, date, and time of calls made to and from the phone. ln addition to
enabling voice communications wireless telephones offer a broad range of capabilities
These capabilities include: storing names and phone numbers in electronic ”address
books;” sending receiving and storing text messages and e-mail,' taking sending
receiving and storing still photographs and moving video,' storing and playing back
audio files; storing dates appointments and other information on'personal calendars,'
and accessing and downloading information from the lnternet. Wireless telephones may
also include global positioning system (”GPS") technology for determining the location
of the device.

56. Digital camera: A digital camera is a camera that records pictures as digital
picture files rather than by using photographic film. Digital cameras use a variety of
fixed and removable storage media to store their recorded images lmages can usually
be retrieved by connecting the camera to a computer or by connecting the removable
storage medium to a separate reader. Removable storage media include various types of
flash memory cards or miniature hard drives l\/lost digital cameras also include a screen
for viewing the stored images This storage media can contain any digital data, including

data unrelated to photographs or videos

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57. IP Address: An lnternet Protocol address (or simply "IP address") is a
unique numeric address used by computers on the lnternet An lP address is a series of
four numbers each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every
computer attached to the lnternet computer must be assigned an IP address so that
lnternet traffic sent from and directed to that computer may be directed properly from
its source to its destination l\/lost lnternet service providers control a range of IP
addresses Some computers have static-that is long~term-IP addresses while other
computers have dynamic~that is frequently changed_ IP addresses

58. lnternet: The lnternet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the lnternet
connections between devices on the lnternet often cross state and international borders
even When the devices communicating with each other are in the same state.

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

59. Based on my knowledge, training and experience, l know that electronic
devices can store information for long periods Similarly, things that have been viewed
via the lnternet are typically stored for some period on the device. This information can
sometimes be recovered with forensics tools

60. There is probable cause to believe that things that were once stored on the
devices may still be stored there, for at least the following reasons:

61. Based on my knowledge, training and experience, l know that computer
files or remnants of such files can be recovered months or even years after they have been

downloaded onto a storage medium, deleted, or viewed via the lnternet Electronic files

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downloaded to a storage medium can be stored for years at little or no cost Even when
files have been deleted, they can be recovered months or years later using forensic tools
This is so because when a person ”deletes” a file on a computer, the data contained in the
file does not actually disappear,' rather, that data remains on the storage medium until it
is overwritten by new data.

62. Therefore, deleted files or remnants of deleted files may reside in free
space or slack space ~ that is in space on the storage medium that is not currently being
used by an active file-for long periods before they are overwritten In addition, a
computer's operating system may also keep a record of deleted data in a ”swap" or
”recovery” file

63. Wholly apart from user~generated files computer storage media-in
particular, computers' internal hard drives~contain electronic evidence of how a
computer has been used, what it has been used for, and who has used it To give a few
examples this forensic evidence can take the form of operating system configurations
artifacts from operating system or application operation, file system data structures and
virtual memory ”swap” or paging files Computer users typically do not erase or delete
this evidence because special software is typically required for that task. However, it is
technically possible to delete this information

64. Similarly, files that have been viewed via the lnternet are sometimes
automatically downloaded into a temporary lnternet directory or ”cache.”

65. Forensic evidence As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve as

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direct evidence of the crimes described on the warrant but also forensic evidence that
establishes how the devices were used, the purpose of its use, who used it and When.
There is probable cause to believe that this forensic electronic evidence might be on the
devices because:

66. Data on the storage medium can provide evidence of a file that was once on
the storage medium’but has since been deleted or edited, or of a deleted portion of a file
(such as a paragraph that has been deleted from a word processing file). Virtual memory
paging systems can leave traces of information on the storage medium that show What
tasks and processes were recently active Web browsers, e-mail programs and chat
programs store configuration information on the storage medium that can reveal
information such as online nicknames and passwords. Operating systems can record
additional information such as the attachment of peripherals the attachment of USB
flash storage devices or other external storage media, and the times the computer was in
use Computer file systems can record information about the dates files were created and
the sequence in which they were created

67 . Forensic evidence on a device can also indicate who has used or controlled
the device This ”user attribution" evidence is analogous to the search for ”indicia of
occupancy” while executing a search warrant at a residence

68. A person with appropriate familiarity with how an electronic device Works
may, after examining this forensic evidence in its proper context be able to draw
conclusions about how electronic devices were used, the purpose of their use, who used

them, and when

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69. The process of identifying the exact electronically stored information on a
storage medium that are necessary to draw an accurate conclusion is a dynamic process
Electronic evidence is not always data that can be merely reviewed by a review team and
passed along to investigators Whether data stored on a computer is evidence may
depend on other information stored on the computer and the application of knowledge
about how a computer behaves. Therefore, contextual information necessary to
understand other evidence also falls within the scope of the Warrant

70. Further, in finding evidence of how a device was used, the purpose of its
use, Who used it, and when, sometimes it is necessary to establish that a particular thing
is not present on a storage medium.

71. Nature of examination Based on the foregoing and consistent with Rule
41(e)(2)(B), the warrant l am applying for Would permit the examination of the device
consistent with the warrant The examination may require authorities to employ
techniques including but not limited to computer-assisted scans of the entire medium,
that might expose many parts of the device to human inspection in order to determine
whether it is evidence described by the warrant

72. l\/lanner of execution Because this warrant seeks only permission to
examine a device already in law enforcement's possession the execution of this warrant
does not involve the physical intrusion onto premises Consequently, l submit there is
reasonable cause for the Court to authorize execution of the warrant at any time in the

day or night

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ATTACHMENT A
LOCATION TO BE SEARCHED:

330 West Keefe Avenue Apartment #6, Milwaukee, Wisconsin

l\/lulti-unit apartment complex having a tan brick exterior with grey trim around the
Windows and a black tar roof. The numbers ”330” are displayed in a horizontal fashion
to the west of the south facing front entry door. Apartment #6 is located on second floor
southwest corner there is no number displayed on the white wood door. Apartment #6
is located directly across the hallway across from Apartment #5.

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ATTACHMENT B

ITEMS TO BE SEIZED:

10,

11.

Any illegal drugs or controlled substances paraphernalia associated with
controlled substances including scales and other Weighing devices as well as
packaging materials and containers used to package controlled substances

Proceeds of drug trafficking activities including United States currency ,'

Firearms, ammunition magazines gun boxes firearm purchase records or
receipts, and other paraphernalia associated with firearms

Sentry Safe,'

All bank records checks credit card bills, account information and other financial
records financial records, documents statements or other evidence of control of
bank or other financial accounts and investment funds

Lists of drug customers and related identifying information

Personal address books telephone bills, photographs letters, personal notes,
documents and other items or lists reflecting names addresses telephone
numbers addresses and communications regarding illegal activities among and
between members and associates involved in drug trafficking activities

Documents and deeds reflecting the purchase or lease of items obtained with the
proceeds from drug trafficking activities

Records of off~site locations to store proceeds and other records including safes,
vaults or lock boxes safe deposit box keys records and receipts and rental
agreements for storage facilities

Records of mail and communications services cellular telephones and all
electronic storage areas on the device including stored telephone numbers
recently called numbers list, text messages, digital audio and or video recordings
pictures settings and any other user defined settings and / or data.

indicia of occupancy, residency or ownership of the premises including utility
bills, l telephone bills, loan payment receipts, addressed envelopes escrow
documents and keys

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As used above, the terms ”records" and ”information" include all of the foregoing
items of evidence in whatever form and by Whatever means they may have been created
or stored, including any form of computer or electronic storage (such as hard disks or
other media that can store data),' any handmade form (such as writing drawing
painting); any mechanical form (such as printing or typing),' and any photographic form
(such as microfilm, microfiche, prints, slides, negatives videotapes, motion pictures or
photocopies).

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